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10                           IN THE UNITED STATES DISTRICT COURT

11                         FOR THE EASTERN DISTRICT OF CALIFORNIA

12

13    FRANKIE DOSTY,                                               CIV S-07-1361-FCD-CMK-P

14                                                   Petitioner,   ORDER

15                   v.

16    M.C. KRAMER, et al.,

17                                                Respondents.

18

19             Respondents have requested a thirty (30) day extension of time in which to file

20 Respondents’ response to Petitioner’s petition for writ of habeas corpus.      GOOD CAUSE

21 APPEARING, Respondents are granted an extension of time to and including February 1, 2008, in

22 which to file a response to Petitioner’s petition for writ of habeas corpus.

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      DATED: January 7, 2008
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26                                                 ______________________________________
                                                   CRAIG M. KELLISON
27                                                 UNITED STATES MAGISTRATE JUDGE

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